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       Case    (FORM 1040)
            22-50073       (12/15)
                         Doc   1604                       Filed 03/27/23       Entered 03/27/23 14:12:10                       Page 1 of 30



          ADVERSARY PROCEEDING COVER SHEET                                                   ADVERSARY PROCEEDING NUMBER
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PLAINTIFFS                                                                      DEFENDANTS
Luc A. Despins, Chapter 11 Trustee                                             Greenwich Land, LLC and Hing Chi Ngok

ATTORNEYS )LUP1DPH$GGUHVVDQG7HOHSKRQH1R                                ATTORNEYS ,I.QRZQ 
Paul Hastings LLP (c/o Douglass Barron), 200 Park Avenue  Updike, Kelly & Spellacy, P.C. (c/o Evan S. Goldstein), 3225
New York, New York 10166, douglassbarron@paulhastings.com Asylum Street - 20th Floor, Hartford, CT 06103,
                                                          egoldstein@uks.com

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First Claim, an order declaring that: at all times Greenwich Land was an alter ego of the Debtor and ordering the turnover
of any and all of Greenwich Land’s assets to the Trustee; Second Claim, an order declaring that the membership interest
in Greenwich Land purportedly held by the Defendant Ngok to be property of the Debtor’s chapter 11 estate and ordering
the surrender of such membership interest and all related rights of corporate control, to the Trustee.
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    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
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    FRBP 7001(2) – Validity, Priority or Extent of Lien
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    FRBP 7001(4) – Objection/Revocation of Discharge
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    FRBP 7001(5) – Revocation of Confirmation
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         22-50073      (12/15)
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              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
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Ho Wan Kwok                                                22-50073 (JAM)
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Connecticut                                                           Bridgeport                         Manning, J.
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            Mar. 27, 2023                                             Douglass Barron



                                                         INSTRUCTIONS

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Case 22-50073         Doc 1604        Filed 03/27/23        Entered 03/27/23 14:12:10           Page 3 of 30




                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :   Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :   (Jointly Administered)
                                                      :
------------------------------------------------------x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :   Adv. Proceeding No. [          ]
                                 Plaintiff,           :
v.                                                    :
                                                      :
GREENWICH LAND, LLC and                               :   March 27, 2023
HING CHI NGOK,                                        :
                                                      :
                                 Defendants.          :
                                                      :
------------------------------------------------------x


            COMPLAINT OF CHAPTER 11 TRUSTEE FOR ESTATE OF
    HO WAN KWOK SEEKING (I) DECLARATORY JUDGMENT THAT GREENWICH
        LAND LLC IS ALTER EGO OF DEBTOR, AND (II) RELATED RELIEF

         Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor” or “Kwok”), files this

adversary complaint (the “Complaint”) against defendant Greenwich Land, LLC (“Greenwich

Land”), stating as follows:


1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
Case 22-50073         Doc 1604        Filed 03/27/23         Entered 03/27/23 14:12:10               Page 4 of 30




                                           NATURE OF ACTION

        1.       The Trustee commences this adversary proceeding to remedy another of the

Debtor’s attempts to use a shell company under his control, while nominally held by a family

member, to keep one of his valuable assets out of the reach of creditors.

        2.       The shell company here is Greenwich Land, the family member, Hing Chi Ngok,

the Debtor’s wife 2 and Greenwich Land’s purported owner. The valuable property includes the

Debtor’s residence in Greenwich, Connecticut, purchased in 2020 for $4.6 million.

        3.       As will be discussed herein, Greenwich Land is the Debtor’s alter ego or, in the

alternative, is equitably owned by, the Debtor. In either case, its assets or the value of such

assets should be brought into the Debtor’s chapter 11 estates. Among other things, Greenwich

Land was managed by the Debtor’s agents and/or employees, and was funded by the Debtor’s

other shell companies. Greenwich Land even shares a New York City address at 162 E 64th St.

with the Debtor and his other shell companies. The Debtor uses Greenwich Land’s asset, the

Taconic Road Property, as his residence, and Greenwich Land pays the Debtor’s associated

residential expenses. Moreover, it was the Debtor who orchestrated and controlled Greenwich

Land’s real estate transactions, not Defendant Ngok, who testified at her deposition that, despite

being the sole purported member of Greenwich Land, she knew nothing about Greenwich Land,

its assets, or its operations.

        4.       The Trustee is therefore entitled to a ruling that Greenwich Land’s assets, and/or

Greenwich Land itself, belong to the chapter 11 estate and should be turned over to the Trustee.


2
    While this complaint refers to Defendant Ngok as the Debtor’s wife, the Debtor has disclosed that there is no
    marriage certificate documenting the relationship, and the Trustee reserves his rights to contest the couple’s
    status in connection with assertions of marital privilege or other issues. See Global Notes and Statements of
    Limitations, Methodology, and Disclaimers Regarding the Debtor’s Schedules of Assets and Liabilities and
    Statement of Financial Affairs, (March 9, 2022) Docket No. 77 (“SOFA”) at 11.
                                                         2
Case 22-50073      Doc 1604     Filed 03/27/23      Entered 03/27/23 14:12:10       Page 5 of 30




                                JURISDICTION AND VENUE

        5.     This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. §1334(b).

        6.     This adversary proceeding has been referred to this Court pursuant to 28 U.S.C.

§157(a).

                                        THE PARTIES

        7.     The Trustee is the chapter 11 trustee in the Chapter 11 Case pursuant to the

Court’s order entered on July 8, 2022 [Main Case Docket No. 523].

        8.     Greenwich Land is a Delaware limited liability company with an address at 162

East 64th Street, New York, New York 10065.

        9.     Hing Chi Ngok (“Defendant Ngok”) is the Debtor’s wife and the purported sole

member of Greenwich Land.

                                             FACTS

        A. Debtor’s Prolific Use of Shell Companies

        10.    As discussed further below, numerous facts establish that Greenwich Land is an

alter ego of (or equitably owned by) the Debtor and used by the Debtor to shield his multi-

million dollar residence in Greenwich, Connecticut (the “Taconic Road Property”) from

creditors.

        11.    The Debtor’s control over Greenwich Land is part and parcel of the Debtor’s

prolific use of shell companies purportedly owned by family members or business subordinates

to shield his assets and activities from creditors. The Debtor’s shell game has allowed him to

continue to deny ownership of assets, refuse to pay debts, and—until his recent arrest by the

FBI—live a life of luxury.


                                                3
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 6 of 30
Case 22-50073         Doc 1604       Filed 03/27/23       Entered 03/27/23 14:12:10            Page 7 of 30




and the Trustee were controlled by the Debtor, 9 lead by the Debtor, 10 or served “the purposes of .

. . and as business vehicles of” the Debtor. 11 This Court separately found, in its order holding the

Debtor in contempt for violating the Court’s corporate governance order, that the Debtor was the

beneficial owner of Ace Decade Limited (and, through it, Dawn State Limited), and that the

Debtor controlled and employed Ace Decade Limited’s nominee owner, Yvette Wang. 12

         14.     Similarly, immediately prior to the filing of the Debtor’s chapter 11 case in

February 2022, in the Debtor’s pre-petition litigation against Pacific Alliance Asia Opportunities

Fund (“PAX”) in New York state court (the “State Court Action”), Justice Ostrager found that it

was the Debtor’s practice to use shell companies to shield his assets from creditors. 13 Justice

Ostrager also found that the Lady May yacht was beneficially owned and controlled by the

Debtor, despite title to the yacht being formally held by Hong Kong International Funds

Investments (USA) Limited, purportedly owned by the Debtor’s daughter.

         15.     Previously, Judge Liman of the United States District Court for the Southern

District of New York found, in a decision issued in 2021, that Eastern Profit Corporation

Limited, another company purportedly held by the Debtor’s daughter, was “in essence, a shell

corporation” for the Debtor. 14 Eastern Profit Corporation Limited was one of numerous entities

whose financial accounts were identified by a 2018 Hong Kong court order to be “subject to the

effective control” of the Debtor. 15



9
     PI Decision, ¶ 3 (“The Debtor also controls Saraca Media Group and a related entity ‘GTV’”).
10
     PI Decision ¶ 7 (“The Debtor is the leader of The Whistleblower Movement, NFSC, ROLF, and Himalaya.”).
11
     Id. (“The Whistleblower Movement, NFSC, ROLF, GSeries, and Himalaya serve the purposes of the Debtor,
     serve as business vehicles for the Debtor, and their members are personally loyal to the Debtor.”).
12
     Order Granting Motion to Hold Debtor in Contempt of Corporate Governance Order, ¶¶ 1,4 (Docket No. 1372)
     (“Corp. Governance Contempt Order”).
13
     Ex. 5, February 9, 2022 Decision and Order, at 1, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.),
     NYSCEF Doc. No. 1181 (the “Final Contempt Decision”).
14
     Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL), 2021 WL 2554631 at *1.
15
     Ex. 6, Hong Kong Restraint Order, pp 7-18.
                                                      5
Case 22-50073         Doc 1604        Filed 03/27/23         Entered 03/27/23 14:12:10             Page 8 of 30




         16.      Relatedly, a confidential witness declaration filed by the Trustee under seal at

Docket No. 1327 and incorporated by reference as an exhibit in support of this Complaint,

establishes, among other things




         17.      Most recently, on March 15, 2023, the Debtor was arrested in connection with

multiple charges of securities fraud, wire fraud, and money laundering. 16 The related criminal

indictment filed by the Unites States Attorney against the Debtor (the “Criminal Indictment”)

states that the Debtor was “the leader of, and directed” 17 a scheme in which, among other things,

the Debtor and his co-defendant William Je transferred money “into and through more than

approximately 500 accounts held in the names of at least 80 different entities or individuals.” 18

The Criminal Indictment identifies some of the entities and organizations used in the scheme,

such as “GTV, GCLUBS, GMUSIC, GFASHION, and the Himalaya Exchange” as

“instrumentalities” used to perpetuate fraud and exploit the Debtor’s followers, allowing the

Debtor and Je to “enrich themselves, their family members and their co-conspirators, and to fund

[the Debtor’s] extravagant lifestyle.” 19 For example, the Criminal Indictment states that G-Club



16
     See Ex. 7, Criminal Indictment of Ho Wan Kwok, filed Mar. 6, 2023. (A related criminal complaint was also
     filed separately against the Debtor’s employee, Yvette Wang, based on her participation in the Debtor’s
     criminal scheme. Wang has been charged with wire fraud, securities fraud, conspiracy to commit wire fraud and
     securities fraud, and the making of an unlawful transaction.) See Ex. 8, Complaint against Yanping Wang a/k/a/
     “Yvette”, filed March 10, 2023 (the “Criminal Complaint”).
17
     Criminal Indictment ¶ 6.
18
     Id. ¶ 3.
19
     Id. ¶ 2.
                                                         6
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 9 of 30
Case 22-50073         Doc 1604       Filed 03/27/23        Entered 03/27/23 14:12:10           Page 10 of 30




          C. Greenwich Land Managed by the Debtor’s Employees and/or Agents

          21.     According to the Greenwich Land corporate documents, only three individuals

 other than Defendant Ngok have served as officers of Greenwich Land—Yvette Wang, Max

 Krasner, and Daniel Podhaskie. Each of these individuals was, at all relevant times, an employee

 and/or agent of the Debtor.

                      a. Yvette Wang: The Court has already ruled that “[t]he Debtor has control

                          over Ms. Wang” and that he “has employed Yvette Wang for several

                          years, and has directed her to take actions on his behalf, including

                          directing her to act on his behalf to purchase properties such as the Sherry-

                          Netherland apartment.” 25 Ms. Wang has served the Debtor in numerous

                          other roles, including as an officer and/or authorized signatory of Golden




 25
      Order Granting Motion to Hold Debtor in Contempt of Corporate Governance Order ¶ 4 [Docket No. 1372].

                                                       8
Case 22-50073          Doc 1604        Filed 03/27/23          Entered 03/27/23 14:12:10             Page 11 of 30




                            Spring, Hudson Diamond Holding LLC, Hudson Diamond NY LLC,

                            Leading Shine NY Limited, Saraca Media Group, Inc., GTV Media

                            Group, Inc., and Genever Holdings LLC. 26 On March 15, 2023, Ms.

                            Wang was arrested in connection with charges that she had, among other

                            things, conspired with the Debtor to commit wire fraud and securities

                            fraud. On the same day, Magistrate Judge Parker ordered Ms. Wang to be

                            subject to home detention and that she have no contact with the Debtor or

                            other co-conspirators outside presence of counsel. 27

                        b. Max Krasner: Mr. Krasner is an employee of Golden Spring who has

                            also served the Debtor in numerous other roles, including as officer and/or

                            authorized signatory of Hudson Diamond Holdings LLC, Hudson

                            Diamond NY LLC, Infinity Treasury Management Inc. (parent company

                            of Lamp Capital LLC), and Rule of Law Foundation. 28




 26
      Ex. 11, May 15, 2018 Affidavit of Yan Ping Wang in PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.)
      (ECF 182) at ¶ 1. (“I am the President of Golden Spring (New York) Ltd., and in that capacity serve as an
      administrator for the interests of [the Debtor] and his family.”); Ex. 12, Hudson Diamond Holding LLC,
      Consent of Sole Member Without a Meeting, dated July 17, 2019 (rendering Ms. Wang signatory)
      (HR0010121); Ex. 13, Hudson Diamond Holdings LLC, Consent of Sole Member Without a Meeting,
      (HR0020577); Ex. 14, Hudson Diamond NY LLC, Consent of Sole Member Without a Meeting, (HR0039240);
                                                                                  Ex. 15, Himalaya Coin Certificate of
      Assumed Name, dated March 14, 2020; Ex. 16, Himalaya Dollar Certificate of Assumed Name, dated March
      14, 2020; Criminal Complaint ¶ 9a (“Wang was an Executive Director of GTV”); Debtor’s Declaration
      Pursuant to Local Bankruptcy Rule 1007-2 ¶ 1, In re Genever Holdings LLC, Case No. 22-50592-JAM (Bankr.
      Conn.) (Docket No. 1).
 27
      Ex. 17, Wang Criminal Case, Docket No. 3.
 28
      Ex. 12, Hudson Diamond Holding LLC, Consent of Sole Member Without a Meeting, dated July 17, 2019
      (reflecting Mr. Krasner as the vice president) (HR0010135); Ex. 18, Hudson Diamond NY LLC, Consent of
      Sole Member Without a Meeting, dated July 17, 2019 (HR0010171); Ex. 19, GTV Media Group Cert. of
      Incorporation, dated April 17, 2020; Ex. 20, Limited Liability Company Agreement of Lamp Capital, LLC,
      dated September 8, 2020; Ex. 21, CHAR 500 Form of Rule of Law Foundation (Form 990, Page 7, listing Max
      Krasner as “President, Treasurer, Director”).

                                                           9
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 12 of 30
Case 22-50073         Doc 1604       Filed 03/27/23        Entered 03/27/23 14:12:10           Page 13 of 30




            23.   As shown above, on July 26, 2022, shortly after the appointment of the Trustee on

 July 8, 2022, both Defendant Ngok and Yvette Wang resigned from their positions at Greenwich

 Land, leaving Mr. Krasner as the only remaining officer.

            24.   Subsequently, on November 5, 2022, Mr. Krasner resigned from his position at

 Greenwich Land. 31 According to Greenwich Land’s November 8, 2022 response to the

 Trustee’s Rule 2004 subpoena, Mr. Krasner “served as the primary contact for Greenwich Land”

 and “is the sole officer of and sole custodian of records for Greenwich Land.” 32

            25.   Upon information and belief, Greenwich Land has had no officers or other

 personnel since Mr. Krasner’s resignation on November 5, 2022.

            26.   The Trustee has attempted to serve Mr. Krasner with a subpoena at multiple

 locations, thus far, unsuccessfully, and believes that Mr. Krasner is avoiding service.

            D. Defendant Ngok Not Involved In Management of Greenwich Land

            27.   Defendant Ngok, though purportedly the sole member and owner of Greenwich

 Land and formerly Greenwich Land’s president, has had no involvement in the management of

 Greenwich Land and has no knowledge regarding the company, its assets, or its operations.

 Among other things, at her deposition pursuant to Federal Rule of Bankruptcy Procedure 2004

 (“Rule 2004”), Defendant Ngok testified that she:




 31
      Ex. 28, Greenwich Land, LLC’s Objections and Responses to Subpoena for Rule 2004 Examination at 2.
 32
      Id.

                                                      11
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 14 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 15 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 16 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 17 of 30
Case 22-50073          Doc 1604        Filed 03/27/23          Entered 03/27/23 14:12:10             Page 18 of 30




 was signed by Max Krasner, on behalf of the Debtor’s shell company Golden Spring. 59

 Whitman Breed also represented Golden Spring and shell company Hudson Diamond NY LLC

 in connection with certain other potential real estate purchases that did not close.

          34.      The Whitman Breed attorney handling these matters, Margaret Conboy, testified

 at her deposition pursuant to Bankruptcy Rule 2004 that, among other things, she understood her

 real client, and the individual making decisions in connection with these real property

 transactions, to be the Debtor.

          35.      More particularly, Ms. Conboy testified, among other things, that:

                       a. She never spoke to, does not know the name of, and has never had any

                            communications with Defendant Ngok, and she is not aware of ever

                            having been given instructions from someone else on behalf of Defendant

                            Ngok. 60

                       b. She referred to the Debtor as her client. 61

                       c. She was advised periodically that the Debtor was the individual making

                            the decisions with respect to property transactions. 62




 59
      Ex. 38, Letter regarding Whitman Breed’s representation of Greenwich Land, dated Aug. 16, 2019. Golden
      Spring’s role was described by Yvette Wang in July 2019 as follows: “Golden Spring NY Ltd, as a family
      office based in Manhattan, we take care of Miles' and his family's business, projects and assets in the US.” Ex.
      39, Email from Yvette Wang, dated July 11, 2019.
 60
      See Ex. 40, Tr. Conboy Deposition Feb. 21, 2023 at 79:13-80:3 (“Q.· · Did you ever speak with Mrs. Kwok?
      A.· · No. Q.· · Do you know the name of Mr. Kwok's wife? A.· · I have no idea, no. Q.· · Have you ever had
      any communications with her? A.· · No.”).
 61
      See id. at 21:15-23 (referencing an email from Conboy to Kevin Walsh, Q: “You start off: ‘Kevin, my client,
      the Chinese billionaire.’ Is that a reference to your client being Mr. Kwok?” A: “Yeah”); id. at 21:24-22:7 (Q:
      “[T]hen you go on, you say ‘the seller accepted his offer of $35 million. And then, furthermore, he is meeting
      with architects. He has an idea of what is involved in building on the parcel.’ The “he” and the “his” there are
      Mr. Kwok, correct?” A: “Yes”). Conboy alleges she learned that the Debtor was a billionaire of Chinese descent
      through Google. Id. at 16:19-25.
 62
      See id. at 55:15-18 (Q: “So to be clear, you were advised periodically that Mr. Kwok was making decisions with
      regard to properties, correct?” A: “Correct.”).

                                                          16
Case 22-50073           Doc 1604        Filed 03/27/23          Entered 03/27/23 14:12:10              Page 19 of 30




                        d.   She was never told that any other individual apart from the Debtor was

                             making decisions with respect to property transactions. 63

                        e. She understood the Debtor to be the relevant individual accepting and/or

                             making offers in connection with property transactions. 64

                        f. In her representation of Greenwich Land (as well as Golden Spring and

                             Hudson Diamond NY LLC), the only individual she dealt with was Max

                             Krasner, 65 whom she understood to be working on behalf of the Debtor. 66

          36.       In addition to the above, the key transaction documents related to the purchase

 and sale of the Ferncliff Road Property were signed on behalf of Greenwich Land by Mr.

 Krasner, whom Ms. Conboy understood to be working on the Debtor’s behalf.

                    b. Debtor Orchestrated and Controlled Purchase of Taconic Road Property

          37.       Whitman Breed did not represent Greenwich Land in connection with the

 purchase of the Taconic Road Property due to a conflict. Whitman Breed represented the sellers

 of the property. Greenwich Land was represented with respect to this transaction by another law

 firm.



 63
      See Ex. 40, Tr. Conboy Deposition Feb. 21, 2023 at 87:25-88:12 (Q: “Were you ever told that there was any
      decision maker other than Mr. Kwok in connection with real estate transactions related to the work you were
      doing for Golden Spring, Greenwich Land, or Hudson Diamond?” A: “I was never told who was making the
      decisions on any of them . . . except in the e-mails, whatever was sent to me, but that was it.” Q: “And in those
      e-mails, the only person referenced was Miles Kwok, correct?” A: “Correct”).
 64
      See id. at 35-36:24-3 (Q: “Did Mr. Kwok ever become interested in potentially purchasing a property at 32
      Chateau Ridge?” A: “Yes.”); id. at 36:4-12 (Q: “What do you recall about [Chateau Ridge] and that attempted
      purchase?” A: “I recall that he put in an offer. The offer was accepted. We did our normal due diligence, and he
      -- he never signed a contract. We were working on a contract and he never signed the contract -- well, not he but
      the LLC never signed the contract and so nothing came -- it was never purchased.”).
 65
      See id. at 48:8-10.
 66
      See id. at 16:8-10 (Q: “Did you understand that Mr. Krasner was working on behalf of Mr. Kwok?” A: “Yes,
      and the family.”).

                                                           17
Case 22-50073         Doc 1604        Filed 03/27/23         Entered 03/27/23 14:12:10           Page 20 of 30




          38.     Regardless, the evidence makes clear that the Debtor also orchestrated and

 controlled Greenwich Land’s purchase of the Taconic Road Property.

          39.     First, though Ms. Conboy did not represent Greenwich Land in this transaction,

 her testimony regarding Greenwich Land is still relevant—she testified that the Debtor was the

 only decision-maker she was aware of with respect to Greenwich Land (as well as Golden Spring

 and Hudson Diamond NY LLC), meaning, by extension, he was the decision-maker with respect

 to Greenwich Land’s purchase of the Ferncliff Road Property.

          40.     As with the Ferncliff Road Property, the key transaction documents with respect

 to the purchase of the Taconic Road Property were all signed by Max Krasner, the Debtor’s

 agent and/or employee.

          41.     Moreover, Greenwich Land’s real estate broker in connection with the purchase

 of the Taconic Road Property, Emile DeNeree stated in an August 2020 email to Ms. Whitman

 and Mr. Krasner that the Taconic Road Residence was “bought by Miles [i.e., the Debtor] under

 Greenwich Land.” 67 In other words, Greenwich Land was nothing more than a vehicle for the

 Debtor to buy Connecticut real estate. The Trustee fully expects to obtain corroborating

 testimony in connection with this adversary proceeding.

          G. Greenwich Land and Its Properties Funded by Other Debtor Shell Companies

          42.     Upon information and belief, Greenwich Land produces no income of its own,

 and Greenwich Land has at all times been funded by other Debtor shell companies, including

 with respect to its purchases of real property.



 67
      See Ex. 41, Email from Emile DeNeree, dated Aug. 19, 2020 (“the sellers for 373 Taconic which was bought by
      Miles under Greenwich Land.”) [WBAM_001017]; Ex. 40, Tr. Conboy Deposition Feb. 21, 2023 at 85:17-22
      (Q: “as the broker for the buyer, he’s telling you that the house was bought by Mr. Kwok under the name of
      Greenwich Land, correct?” A: “Right”).

                                                        18
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 21 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 22 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 23 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 24 of 30
Case 22-50073   Doc 1604   Filed 03/27/23   Entered 03/27/23 14:12:10   Page 25 of 30
Case 22-50073          Doc 1604         Filed 03/27/23          Entered 03/27/23 14:12:10              Page 26 of 30




          59.       Under Delaware’s two-pronged test for piercing the corporate veil, a court

 applying Delaware’s alter ego analysis to the Debtor’s relationship with Greenwich Land will

 focus on (1) whether the Debtor and Greenwich Land operated as a single economic unit and (2)

 whether there was an overall element of injustice or unfairness. In determining whether entities

 operated as a single economic unit, a court applying Delaware law would consider a number of

 factors, including, among others, whether Greenwich Land was adequately capitalized, observed

 corporate formalities, and was a facade for the Debtor. 84 This “list of factors is not exhaustive

 and no single factor is dispositive.” 85

          60.       The Debtor exercised control and dominion over Greenwich Land such that

 Greenwich Land had no independent existence from the Debtor and the Debtor used the

 corporate form to perpetrate a fraud and injustice. Greenwich Land is an alter ego of the Debtor,

 because, among other reasons:

                        a. Greenwich Land was managed by the Debtor’s agents and/or employees,

                            who comprised, with Defendant Ngok, all the officers of Greenwich Land

                            (which currently has no officers at all).

                        b. The purported owner of Greenwich Land, Defendant Ngok, knows

                            nothing about Greenwich Land and was never meaningfully involved in its

                            affairs.




 84
      Blair v. Infineon Tech., AG, 720 F. Supp.2d 462, 470-71 (D. Del. 2010) (Noting the factors that the Third
      Circuit considers in determining whether a corporation operated as a single economic entity, which notably
      would not include whether the relevant individual is a shareholder of the entity, but would include “gross
      undercapitalization; failure to observe corporate formalities . . . [and] whether the corporation is merely a
      facade.”).
 85
      Id. at 471.
                                                           24
Case 22-50073       Doc 1604     Filed 03/27/23        Entered 03/27/23 14:12:10       Page 27 of 30




                    c. Greenwich Land uses the same address as the Debtor and his other shell

                        companies.

                    d. Greenwich Land and its assets were funded by other Debtor shell

                        companies.

                    e. The Debtor was the decision-maker directing Greenwich Land’s purchases

                        and sales of real estate, as recognized by the attorneys and brokers

                        working on such transactions, who took direction from the Debtor through

                        his agent and/or employee Max Krasner.

                    f. The Debtor uses Greenwich Land’s principal asset as his residence and

                        Greenwich Land pays the Debtor’s expenses in connection with his

                        residence there.

           61.   At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           62.   Accordingly, the Trustee seeks a ruling pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that: (a) at all times Greenwich Land was an alter ego of the

 Debtor; (b) any and all of the assets held by Greenwich Land at any time prior to the Debtor’s

 petition date of February 15, 2022 constituted property of the Debtor; and (c) any and all assets

 held by Greenwich Land at any time from the date of the Debtor’s February 15, 2022 chapter 11

 petition to the present constituted and constitute, as applicable, property of the Debtor’s chapter

 11 estate; and (2) ordering the turnover of any and all of Greenwich Land’s assets to the Trustee.




                                                  25
Case 22-50073          Doc 1604         Filed 03/27/23          Entered 03/27/23 14:12:10              Page 28 of 30




                                                 SECOND CLAIM

                (Declaratory Judgment that Debtor Is Equitable Owner of Greenwich Land and
                       Ordering Turnover of Ownership of Greenwich Land to Trustee)

           63.      The Trustee repeats and realleges the allegations contained in paragraphs 1-56.

           64.      The same facts, discussed above, establishing that Greenwich Land is an alter ego

 of the Debtor, also support the conclusion that the Debtor is the equitable owner of Greenwich

 Land. 86

           65.      At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           66.      Accordingly, the Trustee seeks a ruling, pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that the membership interest in Greenwich Land purportedly

 held by Defendant Ngok is property of the Debtor’s chapter 11 estate and (2) ordering the

 surrender of such membership interest and all related rights of corporate control, to the Trustee.

                                                 PRAYER FOR RELIEF

           WHEREFORE, for the foregoing reasons, the Trustee respectfully requests that judgment

 be entered as follows:

           1.       On the First Claim, an order (1) declaring that: (a) at all times Greenwich Land

           was an alter ego of the Debtor; (b) any and all of the assets held by Greenwich Land at

           any time prior to the Debtor’s petition date of February 15, 2022 constituted property of

           the Debtor; and (c) any and all assets held by Greenwich Land at any time from the date

           of the Debtor’s February 15, 2022 chapter 11 petition to the present constituted and


 86
      Freeman v. Complex Computing Co., Inc., 119 F.3d 1044, 1051 (2d Cir. 1997) (defendant that “exercised
      considerable authority over [the corporation] . . . to the point of completely disregarding the corporate form and
      acting as though [its] assets were his alone to manage.”) (emphasis added).
                                                           26
Case 22-50073    Doc 1604      Filed 03/27/23        Entered 03/27/23 14:12:10      Page 29 of 30




      constitute, as applicable, property of the Debtor’s chapter 11 estate; and (2) ordering the

      turnover of any and all of Greenwich Land’s assets to the Trustee; and

      2.     On the Second Claim, an order (1) declaring that the membership interest in

      Greenwich Land purportedly held by the Defendant Ngok is property of the Debtor’s

      chapter 11 estate and (2) ordering the surrender of such membership interest and all

      related rights of corporate control, to the Trustee;

      3.     Reasonable attorneys’ fees, costs, and expenses incurred in this action; and

      4.     Such other and further relief as the Court may deem just, proper, or equitable

      under the circumstances.

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                                                27
Case 22-50073   Doc 1604     Filed 03/27/23    Entered 03/27/23 14:12:10      Page 30 of 30


 Dated: March 27, 2023                LUC A. DESPINS
        New York, New York            CHAPTER 11 TRUSTEE



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                                          28
